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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:15CR197
                                                )
       vs.                                      )                    ORDER
                                                )
KIMBERLY HUPP,                                  )
                                                )
                      Defendant.                )


       This matter is before the court on the motion of defendant Kimberly Hupp (Hupp) to be
permitted to appear for jury trial in civilian clothes and without restraints (Filing No. 44). The
motion is granted. Should Hupp remain in custody pending her trial, Hupp’s counsel shall
provide the U.S. Marshal with suitable civilian clothing for Hupp to wear at her trial and the
U.S. Marshal shall present Hupp in court without restraints absent further instructions from
the trial judge.


       IT IS SO ORDERED.


       DATED this 11th day of September, 2015.


                                                    BY THE COURT:


                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
